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 5 Attorneys for Defendant,
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 6

 7

 8                                        UNITED STATE DISTRICT COURT

 9                                     SOUTHERN DISTRICT OF CALIFORNIA

10                                                                              '12CV2200 IEG RBB
11 ANTHONY FEHRENBACH,                                          CASE No. 37-2012-00068598-CU-NP-EC

12                        Plaintiff,                            NOTICE OF REMOVAL OF CIVIL
                                                                ACTION FROM STATE COURT TO
13               vs.                                            UNITED STATES DISTRICT COURT,
                                                                SOUTHERN DISTRICT OF
14 THE CBE GROUP, INC.,                                         CALIFORNIA

15                        Defendant.
                                                                Action Filed:          July 20, 2012
16                                                              Trial Date:            None Set

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                                                    NOTICE OF REMOVAL TO SOUTHERN DISTRICT OF CALIFORNIA
                   Case 3:12-cv-02200-IEG-RBB Document 1 Filed 09/10/12 PageID.2 Page 2 of 3



                    1              TO THE JUDGES OF THE UNITED STATES DISTRICT COURT, SOUTHERN

                    2 DISTRICT OF CALIFORNIA, AND TO ALL INTERESTED PARTIES AND THEIR

                    3 ATTORNEYS HEREIN:

                    4              PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. § 1441(a), Defendant The CBE

                    5 Group, Inc.(“Defendant”), hereby removes the above-entitled action from the Superior Court for

                    6 the State of California in and for the County of San Diego, to the United States District Court,

                    7 Southern District of California, based on the following facts:

                    8                 1. On or about July 20, 2012, an action was filed in the Superior Court of the State of

                    9 California for the County of San Diego, entitled Anthony Fehrenbach v The CBE Group, Case No.

                   10 37-2012-00068598 (“the Action”). Copies of the summons and complaint are attached hereto as

                   11 “Exhibit A.”

                   12                 2. Plaintiff alleges as one of his causes of action violation of the Fair Debt Collection

                   13 Practices Act. Thus, this Court has original jurisdiction over this case pursuant to 15. U.S.C

                   14 §1692 k(d), and 28 U.S.C. § 1331.

                   15                 3. A responsive pleading has been filed in the State Court Action, and is attached as

                   16 Exhibit “B”

                   17                 4. Defendant is not aware of any events, other than the filing of the Complaint and

                   18 Answer, taking place in the State Court Action.

                   19                 5. Removal is timely pursuant to 28 U.S.C. §1446(b) as Notice of Removal has been

                   20 filed within thirty days after receipt by the Defendant, who was served by personal service on

                   21 August 12, 2012.

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& GARRETT LLP
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                                                               NOTICE OF REMOVAL TO SOUTHERN DISTRICT OF CALIFORNIA
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                    1              For the reasons stated above, Defendant removes the above entitled action now pending in

                    2 the Superior Court for the County of San Diego, Case No. 37-2012-00068598-CU-NP-EC, to the

                    3 United States District Court for the Southern District of California.

                    4

                    5 DATED: September 10, 2012                     MUSICK, PEELER & GARRETT LLP

                    6

                    7
                                                                    By:          /s/ Sean P. Flynn
                    8                                                     Sean P. Flynn
                                                                          Attorneys for Defendant,
                    9                                                     THE CBE GROUP, INC.
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